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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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IN RE: NINE WEST LBO SECURITIES
LITIGATION

20 MD. 2941 (JSR)
Pertains to All Associated Actions

OPINION AND ORDER
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JED S. RAKOFF, U.S.D.J.

This multidistrict litigation arises from the 2014
leveraged buyout (the “LBO”) of the fashion retail company, The
Jones Group, Inc. (“Jones Group”). Plaintiffs — consisting of
Marc Kirschner, as trustee for the Nine West Litigation Trust
representing unsecured creditors (the “Litigation Trustee”), and
Wilmington Savings Fund Society, FSB as successor indenture
trustee for various notes issued by Nine West (the “Indenture
Trustee”) — bring these consolidated actions against officers,
directors, and shareholders of Jones Group, claiming breach of
fiduciary duty, aiding and abetting breach of fiduciary duty,
fraudulent conveyance, unjust enrichment, and other assorted
state law claims arising out of the bankrupting, and bankruptcy,
of the company in connection with the LBO.

Specifically, plaintiffs allege that the defendant officers
and directors arranged for the company to merge with an
affiliate of Sycamore Partners Management, L.P. (“Sycamore”), a

private equity company, and sold off valuable “crown jewel”
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businesses to other Sycamore affiliates for a fraction of their
real price. The result was to leave what remained, now called
Nine West Holding Inc. (“Nine West”), bereft of its most
successful product lines and with over $1.5 billion in debt, of
which more than $1 billion was prior Jones Group debt.

Pursuant to the Court’s June 12, 2020 scheduling order, now
before the Court are two motions to dismiss - one on behalf of
the shareholder defendants and the other on behalf of the
director and officer defendants (the “D&O defendants”)
relating to those claims arguably affected by the safe harbor
found in 11 U.S.C. § 546(e). Both the shareholder defendants and
the D&O defendants argue that certain payments made to them in
connection with the LBO are shielded from the fraudulent
conveyance and unjust enrichment claims under the § 546(e) “safe
harbor.”

These motions are litigated in the shadow of In re Tribune

Company Fraudulent Conveyance Litigation, 946 F.3d 66 (2d Cir.

 

2019), petition for cert. filed, 2020 WL 3891501 (U.S. July 6,

 

2020), a recent Second Circuit opinion that examined the scope
of the § 546(e) safe harbor in the context of a leveraged
buyout. There, the Second Circuit held that when a bank serves
as a paying agent to help a company effectuate payments to its
shareholders in connection with a securities contract, all

payments made in connection with that securities contract are
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safe harbored from a bankruptcy trustee’s avoidance powers with
respect to certain fraudulent conveyance claims. Id. at 72,
Despite plaintiffs’ best efforts to distinguish Tribune’s
holding from the issues presented by the instant motions, the
Court holds that Tribune largely controls these issues, and
therefore grants both motions to dismiss.

I. Factual Background!

 

A. The Merger and the Shareholder Payments

 

Prior to the merger, Jones Group was a publicly traded
global footwear and apparel company. Compl. @ 45. In 2014,
Sycamore, a private equity firm, acquired Jones Group through an

LBO transaction.? Id. 41 52-60. Sycamore effectuated the

 

I Plaintiffs in this multidistrict litigation have filed
seventeen virtually identical complaints. After the motions to
dismiss were briefed, amended complaints were filed in certain
actions pursuant to Fed. R. Civ. P. 15(a)(1)(B). The amendments
were mostly technical. Because plaintiffs do not object to the
pending motions being treated as addressed to the amended
pleadings, Plaintiffs’ Memorandum of Law in Opposition to Former
Director and Officer Defendants’ Motion to Dismiss Under 11
U.S.C. § 546(e) (“Pls’ D&O Mem.”), Dkt. No. 272, at 5 n.5, the
Court cites, unless otherwise noted, to the amended complaint
filed in Kirschner, et al. v. McClain et _al., No. 20-cv-4262,
Dkt. No. 110. Each cited allegation is also found in the other
operative complaints, and every reference to the “Complaint”
hereinafter effectively refers to each of the complaints in

 

these actions.

2 “In a typical LBO, a target company is acquired with a
significant portion of the purchase price being paid through a

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transaction by creating a new subsidiary — Jasper Parent — into
which Jones Group was merged and ultimately renamed Nine West
Holdings, Inc. (“Nine West”). Id. 132.

As part of the LBO, several payments were made to Jones
Group shareholders, directors, and officers. First, shares of
common stock were cancelled and converted into the right to
receive $15 in cash; in total, Nine West paid Jones Group’s
public shareholders $1.105 billion for the common shares. Id. @
61, 135. Second, shares of restricted stock and stock equivalent
units, held by directors and officers, were likewise cancelled
and converted into the right to receive $15 in cash, plus any
unpaid dividends that had accumulated on those restricted
shares; in total, Nine West paid Jones Group’s directors and
officers $78 million in connection with those shares. Id. In
addition, Nine West paid approximately $71 million in change in
control payments to certain directors and officers. Id. @ 40;
Pls’ D&O Mem. App. 1.

In the Complaint, plaintiffs refer to the above-mentioned
payments, including common shares, restricted shares, share
equivalent units, and unpaid dividends, as “shareholder

transfers.” Compl. I 41. They allege that the $1.105 billion

 

loan secured by the target company’s assets.” Tribune, 946 F.3d
at 71 on.

 

 
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common share payments, made to the public shareholders, were
effectuated through a different mechanism than were the payments
in connection with the restricted stock, stock equivalent units,
accumulated dividends, and change in control payments made to
the directors and officers. Id. @ 135.

With respect to the common shares, plaintiffs allege the
payments “were made by a non-agent contractor that performed the
ministerial function of processing share certificates and cash,
and whose rights and obligations were governed solely by
contract.” Id. However, the merger agreement that governed the
transaction specified that such payments were to be made by a
“paying agent” and “pursuant to a paying agent agreement in
customary form.”3 See Declaration of Andrew G. Devore in Support

of Public Shareholder Defendant’s Motion to Dismiss Under the

 

Safe Harbor of 11 U.S.C. § 546(e) (“Devore Decl.”), Dkt. No. 92-
2 (the “Merger Agreement”), § 4.2. The Paying Agent Agreement,
3 Plaintiffs acknowledge that the Merger Agreement is

incorporated in the Complaint. See Plaintiffs’ Memorandum of Law
in Opposition to Public Shareholder Defendants’ Motion to
Dismiss Under 11 U.S.C. § 546(e) (“Pls’ Shareholder Mem.”), Dkt.
No. 271, at 6. In any event, as discussed below, the Court holds
that certain documents central to the transaction at issue here
— viz., the Merger Agreement and the Paying Agent Agreement —
are “integral” to the Complaint and therefore appropriate for
the Court to consider at the 12(b)(6) stage. Chambers v. Time
Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002). Accordingly, the
Court relies on those documents in the statement of facts.

 

 
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in turn, identifies the paying agent as Wells Fargo.* Devore
Decl., Dkt. No. 92-1 (the “PAA”), at 2. The PAA was signed by
three parties: Nine West, Jasper Parent, and Wells Fargo. Id.
While it empowers Wells Fargo to “act as [Nine West’s] special
agent for the purpose of distributing the Merger Consideration,”

it also tasks Jasper Parent with key roles in the effectuation

of the payments, including depositing with Wells Fargo the money

to complete the transaction. Id. at 2, § 1.4. And the PAA

assigns Nine West different responsibilities depending on

whether the payments were for book-entry securities or
certificate securities.® Id. § 1.3.

As for the restricted shares, share equivalent units, and

 

unpaid dividends, the Complaint alleges that the payments “were

 

processed through the payroll and by other means.” Compl. J 135.°

 

4 Plaintiffs also acknowledged the identity of Wells Fargo in
the Status Report they filed with this Court on June 10, 2020.
See 20-md-2941, Dkt. No. 10 at 8.

5 Book-entry securities are investments whose ownership is
recorded electronically. By contrast, certificate securities are
investments whose ownership is recorded with a stock
certificate.

6 The Complaint does not contain any allegations with respect
to how the change in control payments were effectuated, although
plaintiffs suggest in their briefing that they were processed in
the same manner as the restricted shares, share equivalent
units, and accumulated dividends. See Pls’ D&O Mem. at 2.
Because the D&O defendants have not yet moved to dismiss the
claims relating to the change in control payments, this question
is ultimately beyond the scope of the instant motions.

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The Merger Agreement further specifies that, upon the completion
of the merger, the restricted shares and the share equivalent
units would be cancelled, and the holder of each share would be
entitled to $15 in cash, “plus any unpaid dividends that have
accumulated on such Restricted Share.” Merger Agreement § 4.3

A. Procedural History

 

In April 2018, roughly four years after the merger closed,
Nine West filed for bankruptcy. Compl. @1 7, 147. The bankruptcy
court approved Nine West’s Chapter 11 plan in February 2019. Id.
TT 13-17. Under that plan, the Litigation Trustee is empowered
to bring putative claims on behalf of Nine West’s estate arising
from the merger, and the Indenture Trustee is authorized to
assert fraudulent conveyance claims against former shareholders
of Jones Group. Id. @4@ 15-16.

As relevant here, the Litigation Trustee brings state law
constructive and intentional fraudulent conveyance claims
challenging the above-mentioned payments pursuant to 11 U.S.C. §
544, which grants the bankruptcy trustee the authority to bring
state law claims to avoid and recover transfers of a debtor that
unsecured creditors would have been able to assert outside of
bankruptcy. In addition, the Litigation Trustee brings unjust
enrichment claims against certain directors and officers seeking
disgorgement and restitution of the payments these defendants

received in connection with the merger. The Indenture Trustee

 

 

 

 

 
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also brings constructive and intentional fraudulent conveyance
claims challenging the same payments but pursuant only to state
law.

Now before the Court are two motions to dismiss certain of
these claims. First, the public shareholder defendants’ move to
dismiss plaintiffs’ intentional and constructive fraudulent

conveyance claims. Dkt. No. 88. Second, the D&O defendants® move

 

7 The moving shareholder defendants are identified in the
signature pages to their memo in support of their motion to
dismiss. Others have joined in that motion. See 20-md-2941, Dkt.
Nos. 95, 100, 101, 108, 112, 115, 135, 143, 149, 155, 157, 159,
178, 181, 184, 189, 192, 195, 202, 204, 205, 210, 214, 218, 225,
231, 240, 243, 251, 264, 268, 276, 282, 300, 309, 314, and 316.

8 The Director Defendants who have moved to dismiss are
Gerald C. Crotty, John D. Demsey, Robert Lh. Mettler, Mary
Margaret Hastings Georgiadis, Matthew H. Kamens, Sidney Kimmel,
Ann Marie C. Wilkins, James A. Mitarotonda, Jeffrey
Nuechterlein, and Lowell W. Robinson. The Officer Defendants who
have moved to dismiss are Christopher R. Cade, Wesley R. Card,
Ira M. Dansky, Richard L. Dickson, Cynthia DiPietrantonio,
Joseph T. Donnalley, Tami Fersko, John T. McClain and Aida
Tejero-DeColli. In addition, the following former directors,
officers, and employees who are alleged to have received
payments in connection with restricted shares, share equivalent
units, and unpaid dividends have joined in the D&O defendants’
motion to dismiss: Irene A. Koumendouros, Ira Margulies, John
D'Souza, Jack Gross, Patricia Kenny, Vincent Morales, Daniel
Fishman, Frances Lukas, Mitchel Levine, Nicoletta Palma and
Stephen C. Troy, Dkt. No. 101; Janet Carr, Dkt. No. 105;
Kathleen Nedorostek Kaswell, Joseph Stafiniak, and Mary E.
Belle, Dkt. No. 108; Nicola Guarna and Robert Rodriguez, Dkt.
No. 112; Lynne Bernstock, Jeffery Brisman, Janice Brown,
Katherine Butler, James Capiola, Gregory Clark, Eric Dauwalter,
Mark DeZao, Beth Dorfsman, Eileen Dunn, Rosa Genovesi, Laurie
Gentile, Bryan Gilligan, Ninive Giordano, Stacey Harmon, Richard
Hein, Gerald Hood, Linda Kothe, Arundhati Kulkarni, Suzanne
Maloney, Zine Mazouzi, Susan McCoy, Thomas Nolan, Pamela Paul,
Charles Pickett, Amy Rapawy, Joseph Rosato, Mahmood Hassani-

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to dismiss the plaintiffs’ intentional and constructive
fraudulent conveyance claims and the Litigation Trustee’s unjust
enrichment claims with respect to payments made in connection
with restricted shares, share equivalent units, and accumulated
dividends.? Dkt. No. 93.
TI. Legal Analysis

In order to survive a motion to dismiss, a plaintiff must

“state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). When deciding a

 

motion to dismiss, the Court “accept[s] all factual allegations
in the complaint and draw[s] all reasonable inferences in the
plaintiff's favor.” ATSI Commc’ns, Inc. Vv. Shaar Fund, Ltd., 493
F.3d 87, 98 (2d Cir. 2007). Unlike factual allegations, however,
legal conclusions pleaded in a complaint are “not entitled to
the assumption of truth.” Iqbal, 556 U.S. at 679.

A. Considering Documents Outside the Complaint

 

Sadi, Arlene Starr, Larissa Sygida, Kimberly Thomas, and Norman
Veit, Dkt. No. 115; Whitney L. Smith, Dkt. No. 135; Heather
Harlan and George Sharp, Dkt. No. 143; Jamie Cygielman, Harvest
Street Capital, LLC, and Robyn Mills, Dkt. No. 189; Stefani
Greenfield, Dkt. No. 218; Wayne Kulkin, Dkt. No. 235; and
Kathieen O'Brien Gibber and Thomas Murray, Dkt. No. 264.

8 As confirmed at oral argument, the D&O defendants do not
move to dismiss plaintiff’s fraudulent conveyance claims with
respect to the change in control payments. See Transcript of

Oral Argument, August 13, 2020 (“Tr.”), at 23:15-20.

 

 

 

 

 
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The § 546(e) safe harbor is an affirmative defense. See In

re Bernard L. Madoff Inv. Securities LLC, No. 11-Mc-0012, 2011

 

WL 3897970, at *1l1 (S.D.N.Y. Aug. 31, 2011). “A court may
dismiss a claim on the basis of an affirmative defense only if
the facts supporting the defense appear on the face of the
complaint.” United States v. Space Hunters, Inc., 429 F.3d 416,
426 (2d Cir. 2005). For purposes of this rule, a court may also
consider: (1) facts subject to judicial notice; (2) documents
incorporated in the complaint by reference; or (3) documents
integral to the complaint. Chambers v. Time Warner, Inc., 282
F.3d 147, 153 (2d Cir. 2002). A document is “integral” where the
complaint “relies heavily upon its terms and effect.” Id.

A threshold question the Court must resolve is whether the
Court may consider on these motions to dismiss the Paying Agent
Agreement (the “PAA”), which is the agreement between the Jones
Group, Jasper Parent, and Wells Fargo that lays out the terms
under which Wells Fargo would effectuate the $1.105 billion in
payments made to the public shareholders in the merger.

The shareholder defendants maintain that the PAA is both
incorporated by reference in, and integral to, the Complaint.
Memorandum of Law in Support of Public Shareholder Defendants’
Motion to Dismiss Under the Safe Harbor of 11 U.S.C. § 546(e)
(“Shareholder Defs’ Mem.”), Dkt. No. 90, at 9. First, they argue

that the Complaint “contains a number of assertions about Wells

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Fargo’s role and the [PAA’s] terms and effects.” They point to a
single example, where the Complaint references, but does not
quote from, the PAA: In describing the effectuation of the
shareholder payments, the Complaint alleges that the “payments
for Common Shares in the LBO, totaling $1.105 billion, were made
by a non-agent contractor that performed the ministerial
function of processing share certificates and cash, and whose
rights and obligations were governed solely by contract.” Compl.
q 135. This “contract,” the shareholder defendants explain, is
the PAA. Shareholder Defs’ Mem. at 9-10. Second, the shareholder
defendants suggest that the rule allowing courts to consider
omitted documents that are integral to the complaint is designed
to deal with precisely this sort of situation, where plaintiffs
have made a “strategic choice to omit” relevant documents. Id.

at 10 (citing Williams v. GMAC Mort., Inc., No. 13-cv-4315, 2014

 

WL 2560605, at *1 (S.D.N.Y. June 6, 2014)); Reply Memorandum of
Law in Further Support of Public Shareholder Defendants’ Motion
to Dismiss Under the Safe Harbor of 11 U.S.C. § 546(e)
(“Shareholder Reply”), Dkt. No. 279, at 4 n.3 (citing Tulczynska

vy. Queens Hosp. Ctr., No. 17-cv-1669, 2019 WL 6330473, at *6-7

 

(S.D.N.Y. Feb. 12, 2019)).
In response, plaintiffs insist that they have no obligation
to plead or reference documents that the shareholder defendants

want to use as evidence in support of an affirmative defense.

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Pls’ Shareholder Mem. at 15 (citing Rosen v. Brookhaven Capital

 

Management, Co. Ltd., 194 F. Supp. 20 224, 227 (S.D.N.Y. 2002)).

 

And plaintiffs further point out that the cases cited by the
defendants are cases where the documents at issue were relevant
to the plaintiff’s prima facie claim. Id. Here, by contrast, the
PAA is not relevant to whether plaintiffs have pled a prima

facie case of fraudulent conveyance; it is relevant only to

 

whether the shareholder defendants can make out the § 546 (e)
affirmative defense. Id.!°
The leading case on the issue in the Second Circuit is

Chambers v. Time Warner, 282 F.3d 147 (2d Cir. 2002). The

 

Chambers court affirmed the district court’s decision to
consider written contracts between plaintiffs and defendants,
because “[t]he Amended Complaint is replete with references to
the contracts and requests judicial interpretation of their
terms.” Id. at 153 n.4. The Chambers court disapproved, however,

of the district court’s decision to consider certain unsigned

 

10 Relying on Goldman v. Belden, 754 F.2d 1059, 1066 (2d Cir.
1985), plaintiffs also argue that limited quotations of a
document are not enough “to make the document integral to the
complaint.” Id. This argument, however, is meritless. Goldman
discusses whether a particular document had been incorporated in
a complaint, 754 F.2d at 1066, not whether it was integral to
the complaint, which is a separate inguiry. Indeed, “[e]ven
where a document is not incorporated by reference, the court may
nevertheless consider it where the complaint relies heavily upon
its terms and effect, which renders the document integral to the
complaint.” Chambers, 282 F.3d at 153.

 

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codes laying out standard terms for contracts with members of
plaintiffs’ union because “[t]he Amended Complaint does not [
refer to the Codes, plaintiffs apparently did not rely on them
in drafting it, and none of the Codes submitted to the court
were signed by the [defendants],” and also because “the parties
disagree as to whether and how the Codes relate to or affect the
contractual relationships at issue.” Id. at 154.

Here, the PAA lies somewhere between the contracts and the
unsigned codes at issue in Chambers. On the one hand, unlike in
Chambers, the Complaint here is not “replete” with references to
the PAA; instead, as mentioned above, the Complaint contains a
single reference to the PAA. But, on the other hand, unlike the
codes, no one here disputes whether or how the PAA relates to
the issues at the center of these motions. And plaintiffs
clearly relied on the PAA ~ even if only to get around it —
while drafting the Complaint. What is more, the reference to the
PAA, like the references to the contracts in Chambers, seems to
request judicial interpretation of its terms. The Complaint goes

out of its way to describe Wells Fargo as a “non-agent

 

contractor,” a legal conclusion that is not entitled to the
assumption of truth. And “insofar as the Complaint relies on the

terms of [the Paying Agent Agreement], [the Court] need not

 

accept its description of those terms, but may look to the

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agreement itself.” Broder v. Cablevision Systems Corp., 418 F.3d

 

187, 198 (2d Cir. 2005).

What is more, the Tribune courts, faced with a similar set
of allegations, deemed the paying agent agreement integral to
the complaint. There, the Tribune shareholders submitted
transaction documents, including the relevant paying agent
agreement, in opposing the Tribune trustee’s motion to amend
their complaint to include a claim for constructive fraudulent
conveyance. See In re Tribune Co. Fraudulent Conveyance Litig.,
No. 12-cv-2652 (S.D.N.Y¥.), Dkt. No. 6094, Ex. 11. The district
court held that the complaint, “when read in combination with
documents that are either judicially noticeable or are integral
to the complaint, establish that [the paying agent] was acting
as Tribune’s agent.” Tribune, 2019 WL 1771786, at *9-11. And, on
appeal, the Second Circuit took note of the fact that the
defendants had relied on the argument that certain “transaction
documents” were integral to the complaint. Tribune, 946 F.3d at
77-78. Following Tribune, the Court holds that the PAA is
integral to Complaint and can be considered at the motion to
dismiss stage.

B. Payments to the Shareholder Defendants

Both the Litigation Trustee and the Indenture Trustee

assert fraudulent conveyance claims against the public

shareholders. The shareholder defendants move to dismiss those

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claims on the ground that § 546(e) of the Bankruptcy Code safe
harbors the public shareholder payments from the Litigation
Trustee’s claims and preempts the Indenture Trustee’s claims.

In broad strokes, the purpose of that provision, as the
Second Circuit recently observed, is to “promote finality and
certainty for investors, by limiting the circumstances
under which securities transactions could be unwound,” and
thereby “enhancing the efficiency of securities markets” and
reduc[ing] the cost of capital to the American economy.”
Tribune, 946 F.3d at 92. As explained below, the Court holds
that plaintiffs’ attempts to claw back payments made to the
shareholder defendants in connection with an LBO that closed
more than four years ago are foreclosed by § 546(e).

i. Whether § 546(e) Safe Harbors the Payments From

the Litigation Trustee’s Fraudulent Conveyance
Claims

 

1. General Legal Standard

 

Sections 544 through 553 of the Bankruptcy Code outline

 

“the circumstances under which a trustee” may set aside “certain
types of transfers and recapture the value of those avoided
transfers for the benefit of the estate.” Merit Management

Group, LP v. FTI Consulting, Inc., 138 S.Ct. 883, 888 (2018).

 

The Code also sets out “a number of limits on the exercises of
these avoiding powers.” Id. at 889. As relevant here, § 546(e)

provides, in relevant part:

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Notwithstanding section 544 .. . of this title, the
trustee may not avoid a transfer that is a

settlement payment .. . made by or to (or for the
benefit of) a... financial institution... or
that is a transfer made by or to (or for the benefit
of) a... financial institution... in connection
with a securities contract, .. . that is made before

the commencement of the case, except under section
548 (a) (1) (A) of this title."

11 U.S.C. § 546(e). Put simply, the safe harbor applies where

two requirements are met: (1) there is a qualifying transaction

 

(i.e., there is a “settlement payment” or a “transfer payment
made in connection with a securities contract) and (2) there

is a qualifying participant (i.e., the transfer was “made by or

 

to (or for the benefit of) a... financial institution”).

2. Qualifying Transaction

 

The shareholder defendants argue that Nine West’s payments
in connection with the common shares were qualifying
transactions for two independent reasons: (1) the payments were

“settlement payments” and (2) the payments were transfers “made

 

ti Section 546(e) applies to all fraudulent transfer claims,
except for intentional fraudulent transfer claims brought under
§ 548(a) (1) (A). Such claims may be brought only as to transfers
made within two years prior to the bankruptcy. See 11 U.S.C. §
548(a) (1) (A). Because the transfers at issue here occurred
nearly four years before Nine West filed for bankruptcy, Compl.
TI 1, 7, the Litigation Trustee cannot and does not bring his
intentional fraudulent conveyance claims under Section

548 (a) (1) (A). As a result, the shareholder defendants invoke the
§ 546(e) safe harbor against all of the Litigation Trustee’s
fraudulent conveyance claims.

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in connection with a securities contract.” The Court agrees in :

both respects

a. In Connection with a Securities
Contract

 

The Second Circuit has observed that the Bankruptcy Code
defines “securities contract” with “extraordinary breadth” to
include, inter alia, a “contract for the purchase or sale of a
security, including any repurchase transaction on any such ;
security,” as well as “any other agreement or transaction that :

is similar to an agreement or transaction referred to in this

 

subparagraph.” Tribune, 946 F.3d at 81 (first quoting In re

 

Bernard L. Madoff Inv. Sec. LLC, 773 F.3d 411, 417 (2d Cir.

2014) and then quoting 11 U.S.C. §& TAL(7) (A) (1), (vii)). In

 

Tribune, the Second Circuit held that Tribune's payments for the

Wa

redemption of shares from its public shareholders were “in

connection with a securities contract.” Id.

 

Here, just as in Tribune, the shareholder defendants argue,
Nine West’s payments to the public shareholders were for the
redemption of shares and thus made in connection with a
securities contract. Shareholder Defs’ Mem. at 13.

Plaintiffs attempt to distinguish Tribune. They argue that,
unlike in Tribune, the common shares were not “redeemed” by Nine

West; instead, they were “cancelled and converted into the right

 

to receive $15 per share in cash.” Pls’ Shareholder Mem. at 22

 

 

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(quoting Complaint @ 132). After the closing, plaintiffs
contend, “the former shareholders’ stock certificates became
nothing more than pieces of paper evidencing their respective
rights to payment pursuant to the [Merger Agreement].” Id. And
because the shares ceased to exist after the merger, the Merger
Agreement did not - and, indeed, could not — involve their
purchase. Id. at 22-23.

For two reasons, the Court rejects plaintiffs’ argument and
finds that the public shareholder transfers were made in
connection with a securities contract. First, plaintiffs’
attempt to distinguish Tribune is unsuccessful. Tribune involved
a two-step LBO transaction: first, there was a tender offer,
which involved the redemption of shares from public
shareholders, and second there was, as here, a merger, which
involved the cancelation and conversion of the remaining shares
into the right to receive cash. see Declaration of Andrew G.
Devore In Support of Reply Memorandum of Law in Further Support
of Public Shareholder Defendants’ Motion to Dismiss Under the
Safe Harbor Act of 11. U.S.C. § 546(e), Dkt. No. 280-1. While
the Second Circuit did not specifically discuss this distinction
between redemption and cancellation, it had “no trouble
concluding, based on Section 741(7)’s plain language, that all

of the payments at issue, including those connected to the

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redemption of shares, were ‘in connection with a securities
contract.’” Tribune, 946 F.3d at 81.

Second, as the shareholder defendants persuasively argue, §
741(7) (A) (vii) covers not only contracts for the repurchase of
securities but also any other “similar” contract or agreement.
As noted above, the Second Circuit has given this provision wide
scope, observing that “few words in the English language are as
expansive as ‘any’ and ‘similar’” and defining “similar” to
“mean[] ‘having characteristics in common,’ or ‘alike in
substance or essentials.’” Madoff, 773 F.3d at 419. There is no
substantive or essential difference between an LBO that is
effectuated through share redemption and one effectuated through

share cancellation. Therefore, regardless of how the transaction

 

is characterized, the Court finds that Nine West, at the least,
entered into a transaction “similar” to a repurchase, and that
the payments to the public shareholders in connection with the

Merger Agreement fall within the catch-all of § 741(7) (A) (vii).

 

12 Plaintiffs further argue that the cancelation and
conversion of shares is not similar to the redemption of shares
(or to any other agreement or transaction listed in § 741)
because the cancellation of shares does not involve “a security
changing hands,” something they deem to be a crucial element of
any “transaction.” Even if that were right (which the Court
doubts), plaintiffs ignore that § 741(7) (A) (vii) covers not just
transactions but agreements. If nothing else, the cancelation
and conversion of shares constitutes an agreement that is
sufficiently similar to a redemption of shares to fall within
the statute’s definition of a “securities contract.”

 

 

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b. Settlement Payment}?

 

Under the Bankruptcy Code, a “settlement payment” means “a
preliminary settlement payment, a partial settlement payment, an
interim settlement payment, a settlement payment on account, a
final settlement payment, or any other similar payment commonly
used in the securities trade.” 11 U.S.C. § 741(8). The Second
Circuit has held that a “settlement payment” includes a
“transfer of cash made to complete a securities transaction.”

Enron Creditors Recovery v. Alfa, S.A.B. de C.V., 651 F.3d 329,

 

334-35 (2d Cir. 2011); see also In re Quebecor World (USA) Inc.,

 

453 B.R. 201, 215 (Bankr. S.D.N.Y. 2011) (“[T]he direction given
by the Enron majority with respect to that definition is both
uncomplicated and crystal clear — a settlement payment, quite
simply, is a transfer of cash made to complete a securities
transaction.”).

In light of the Second Circuit's Capacious interpretation
of § 741(8), the Court holds, in the alternative, that the

payments made to the shareholder defendants were “settlement

 

13 Because the Tribune court found that the payments at issue
were transfers in connection with a securities contract, it
declined to reach whether those same payments would also
“qualify as ‘settlement payments’ under Section 546(e).” 946
F.3d at 80 n.12.

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payments” — that is, transfers of cash made to complete the
merger. 4

3. Qualifying Participant

 

After determining that the shareholder payments are
qualifying transactions, the Court must next determine whether
those transactions involved a qualifying participant — that is,
whether the transfer was “made by or to (or for the benefit of)
a... financial institution.” § 546(e). Here, the shareholder
defendants make two arguments: First, that Nine West counts as a
qualifying participant and therefore all of the public
shareholder payments are safe harbored by § 546(e); and second
that certain public shareholders independently count as
qualifying institutions either because they are registered under
the Investment Company Act of 1940 or because they are
themselves commercial banks. The Court again agrees with the
shareholder defendants in both respects.

a. Whether Nine West is Qualifying
Participant

 

The shareholder defendants’ primary argument is that Nine
West qualifies as a “financial institution” under the relevant

provisions of the Bankruptcy Code. As discussed above, § 546(e)

 

14 Plaintiffs do not address whether the payments were
settlement payments in their briefs and did not take up the
Court’s invitation to address the issue at oral argument. Tr. at
34:16-22.

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safe harbors qualifying transactions that are made by or to (or
for the benefit of) a... financial institution. Section
101(22) of the Bankruptcy Code, in turn, defines a “financial
institution” as, in relevant part:

[A]n entity that is a commercial or savings bank

and, when any such... entity is acting as agent or

custodian for a customer (whether or not a ‘customer’,

as defined in section 741) in connection with a

securities contract (as defined in section 741) such
customer.

11 U.S.C. § 101(22) (A). In other words, when a bank is acting as

an agent for a customer in connection with a securities

fo

contract, that customer counts as a “financial institution,” for

the purposes of the § 546(e) safe harbor. In Tribune, the Second
Circuit announced and applied this interpretation of §$ 546 (e)
for the first time. It held that Tribune was a financial
institution because, during that merger, Tribune was a
“customer” of Computershare, a bank, and that Computershare
acted as Tribune’s “agent” in that merger by serving as its
paying agent to effectuate the redemption payments made to the
Tribune's former shareholders. 946 F.3d at 77-80.

The shareholder defendants argue that this case is on all
fours with Tribune. That is, Nine West qualifies as a financial
institution under § 101(22) (A) because, during the merger, Nine
West was a “customer” of Wells Fargo, a “commercial bank”, and

that Wells Fargo acted as Nine West’s “agent” in the merger by

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serving as its paying agent to effectuate the payments to the
shareholder defendants. Shareholder Defs’ Mem. at 14. In
response, plaintiffs dispute only whether Wells Fargo served as
Nine West’s “agent.”

i. Legal Standard for Agency

 

In finding that Computershare was Tribune’s agent, the
Second Circuit looked to common law, where the establishment of
an agency relationship requires: (1) “the principal’s
manifestation of intent to grant authority to the agent”; (2)
“agreement by the agent”; and (3) “the principal[{’s]
mainten[ance] [of] control over key aspects of the undertaking.”
Tribune, 946 F.3d. at 79.

First, the Tribune court found that Tribune manifested its
intent to grant authority to Computershare by “depositing the
aggregate purchase price for the shares with Computershare and
entrusting Computershare to pay the tendering shareholders.” Id.
at 80. Second, it found that Computershare “manifested its
assent by accepting the funds and effectuating the transaction.”
Id. And finally, it found that Tribune maintained control over
key aspects of the undertaking as the transaction proceeded. Id.
Specifically on this last point, the Tribune court observed that
Tribune had to give Computershare notice of its acceptance of

the shares before Computershare was to pay the tendering

shareholders. Id.

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ii. Whether Wells Fargo was Nine
West’s Agent

 

The shareholder defendants argue that here, as in Tribune,
all three elements of agency are satisfied, for substantially
the same reasons that the Tribune court relied on. Plaintiffs
make two arguments in response: (1) that Wells Fargo was not an
agent but merely a “non-agent service provider”; and (2) that,
to the extent Wells Fargo was anyone’s agent, it was Jasper
Parent’s agent, not Nine West’s agent.’

1. Whether Wells Fargo Was a
“Non-agent Contractor”

 

 

Plaintiffs first argue, as they allege in the Complaint,
that Wells Fargo was not an agent at all, but merely a “non-
agent contractor.” Pls’ Shareholder Mem. at 17; Complaint @ 135.
In essence, plaintiffs claim that Wells Fargo was not an agent
because it did not have a fiduciary relationship with either
Jasper Parent or Nine West. Pls’ Shareholder Mem. at 18.
Specifically, plaintiffs cite to two Second Circuit cases that,
they contend, show that where a service provider is performing
specified tasks in accordance with a contract, that contractual
arrangement does not mean the service provider is an agent for

its customer. Id. (citing, inter alia, Bridgestone/Firestone,

 

 

i5 Plaintiffs also make the threshold argument that the Court
should not consider the Paying Agent Agreement at the 12(b) (6)
phase. For the reasons discussed above, the Court disagrees.

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Inc. v. Recovery Credit Servs., Inc., 98 F.3d 13, 20 (2d. Cir.

 

1996)). Plaintiffs note that while Wells Fargo had specific
contractual duties involving the holding and disbursing funds,
maintaining records, and complying with specific directions,
plaintiffs conclude, it “had no independence or decision-making
authority,” no “discretion as to whom it would pay or how much
it would pay per share,” and “no say over how to invest the
money it held.” Id. at 19-20.

But, as the shareholder defendants argue, plaintiffs are
confusing cause and effect. A relationship of agency gives rise
to a fiduciary relationship, see Tribune, 946 F.3d at 79; but a
fiduciary relationship is not itself a necessary prerequisite to
establishing agency. See Shareholder Reply at 7 (citing
Restatement (Third) of Agency § 1.01 cmt. e). In any event, the
shareholder defendants contend that plaintiffs’ argument is
foreclosed by Tribune, where the Second Circuit squarely held
that a paying agent that had accepted the funds and effectuated
the transaction was an agent of the customer. 946 F.3d at 80.

Plaintiffs attempt to circumvent Tribune by arguing that
there are “significant differences between the facts in this
case compared to Tribune.” Pls’ Shareholder Mem. at 21. As
discussed below, however, while the factual wrinkles here might

lead the Court to conclude that Wells Fargo was someone else’s

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agent, what is clear is that Wells Fargo, to at least some
customer, was an agent.

2. Whether Wells Fargo was Only
Jasper Parent’s Agent

 

 

Plaintiffs next argue that the terms of the merger
Agreement and the PAA make clear that, if Wells Fargo was
anyone’s agent, it was Jasper Parent’s agent, not Nine West’s
agent. Here, unlike in Tribune, the LBO was effectuated by
merging the target company (Nine West) and a shell company
(Jasper Parent). As a result, the PAA was not a bilateral
agreement between Nine West and Wells Fargo but a trilateral
agreement between Nine West, Jasper Parent, and Wells Fargo. See
PAA at 2. Plaintiffs contend that, even assuming the Court
considers the PAA, that document makes clear that Wells Fargo
was acting on behalf of, and subject to the control of, Jasper
Parent, not Nine West. Pls’ Shareholder Mem. at 11.76

Looking to Tribune, plaintiffs argue that in finding that
Computershare was acting as Tribune’s agent, the Second Circuit

explained that: (1) Tribune had deposited the aggregate purchase

 

16 In support of this point, plaintiffs also cite to the Jones
Group Proxy, which advised shareholders that Wells Fargo would
pay them “on behalf of Parent.” Pls’ Shareholder Mem. at ll.
Because the proxy statement is neither incorporated in nor
integral to the Complaint, the Court declines to consider the
document at the 12(b) (6) stage - nor would consideration of the
document change the Court’s analysis.

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price with Computershare and (2) Computershare could not issue
payments until Tribune provided notice of its acceptance. Pls’
Shareholders Mem. at 11. Here, plaintiffs point out, it was
Jasper Parent, not Nine West, that was tasked with depositing
the funds and accepting the shares. See PAA § 1.4 (“Parent shall
deposit (or cause to be deposited) with the Paying Agent

cash in immediately available funds . . . sufficient to pay the

Merger Consideration... .”); id. (“The Paying Agent agrees

 

that it will not release or pay any funds from the Payment Fund
to or for the account of any of the Shareholders... unless
and until Parent has notified the Paying Agent that the
Effective Time of the Merger has occurred.”).1*7 In addition,
plaintiffs point out that, under the Merger Agreement, it was
Jasper Parent, not Nine West, that directed Wells Fargo how to
invest the funds until they are paid out. Merger Agreement $
4.2(a). By contrast, plaintiffs argue, Nine West’s role in the

PAA ranged from “trivial” to “nonexistent.” 18 Pls’ Shareholder

 

Mem. at 13.

 

 

17 The shareholder defendants unsuccessfully attempt to elide
this point by using the name “Nine West” to refer collectively

to Jasper Parent and Nine West. See Shareholder Defs’ Mem. at 6
n.8. As a result, every time the PAA mentions “Jasper Parent,”

the defendants swap in “Nine West.”

18 Plaintiffs also argue that § 101(22) (A)’s analysis should
proceed transfer-by-transfer, rather than contract-by-contract.
And plaintiffs therefore conclude that to the extent Wells Fargo
was Nine West’s agent, it was only so with respect to the

 

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In response, the shareholder defendants argue that even Lf
Wells Fargo was an agent of Jasper Parent, Wells Fargo also
served as Nine West’s agent for the purposes of distributing the
payments to the shareholder defendants. Shareholder Reply at 6.
In particular, the shareholder defendants point to the following
features of the PAA as evidence of agency relationship between
Nine West and Wells Fargo: (1) the PAA expressly provides that
Nine West “desires that the Paying Agent act as its special
agent for the purpose of distributing the Merger Consideration”;
(2) Nine West was tasked with delivering to Wells Fargo a list
of the owners of common shares who were to receive payment; (3)
Nine West instructed and authorized Wells Fargo to cancel the
shares upon delivery; (4) Nine West was responsible for paying
Wells Fargo; (5) Nine West was responsible for indemnifying
Wells Fargo; and (6) upon completion of the merger, Wells Fargo

was instructed to deliver to Nine West “any and all funds which

 

transfers for the certificate securities not the book-entry
securities because to the extent Nine West exercised meaningful
control over the payments, it was only with respect to the
former. As discussed at greater length below, the Court rejects
plaintiffs’ proffered interpretation of § 101(22) (A) and holds
that the analysis of whether a bank is an agent under the
statute must proceed contract-by-contract. Plaintiffs’ attempt
to distinguish between the payments made in connection with the
book-entry securities and certificate securities, therefore, is
unavailing.

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had been made available” to Wells Fargo. Shareholder Reply at 4-
5.19

The Court agrees with the shareholder defendants and holds
that Wells Fargo was Nine West’s agent with respect to the
Merger Agreement. Ultimately, the money belonged to Nine West
and was paid to its shareholders. While plaintiffs try to use
Jasper Parent’s involvement to confuse the matter, the district
court’s analysis in Tribune ably resolves the issue: “(Wells
Fargo] was entrusted with [millions] of dollars of [Nine West]
cash and was tasked with making payments on [Nine West’s] behalf
to Shareholders upon the tender of their stock certificates to
[Wells Fargo]. This is a paradigmatic principal-agent
relationship.” 2019 WL 1771786, at *11. While Nine West may have
had less control over the shareholder transfers than did

Tribune, it nevertheless had enough control over key elements of

 

19 The shareholder defendants also contend that
plaintiffs’ argument undermines plaintiffs’ fraudulent
conveyance claims, which requires that the transfer sought to be
avoided have been made by the debtor-transferor — that is, by
Nine West. Because plaintiffs purport to act on behalf of Nine
West’s (not Jasper Parent’s) creditors, the shareholder
defendants argue plaintiffs have no standing to seek to avoid
transfers made by or on behalf of Jasper Parent. Shareholder
Reply at 4-5. Ultimately, then, shareholder defendants conclude,
one of two things must be true: Either Wells Fargo made the
payments on behalf of Nine West, in which case the payments are
safe harbored under § 546(e) or Wells Fargo made the payments
only on behalf of Jasper Parent, in which case the transfers
were not made by Nine West and are therefore not subject to
avoidance. Id. It is unnecessary, however, for the Court to
reach this argument.

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the transaction so as to establish an agency relationship with
Wells Fargo.

In sum, then, the Court holds that Nine West, in virtue of
its relationship with Wells Fargo, is a financial institution
under § 101(22) (A) and all of the payments made to the public
shareholders pursuant to the Merger Agreement were settlement
payments and/or transfers made in connection with a securities
contract under § 546(e). Accordingly, the Court holds that all
of the payments made to the public shareholders are safe
harbored under § 546(e).

b. Whether Certain Shareholder Defendants

Independently Count as Qualifying
Participants

 

 

In the alternative, the Court also finds that certain
shareholder defendants independently count as qualifying
participants, irrespective of Nine West’s status. Section
101(22) (A) does not contain the statute’s only definition of a
“financial institution.” Rather, § 101(22) (B) further defines
“financial institution” to include “in connection with a
securities contract . . . an investment company registered under

the Investment Company Act of 1940.” 11 U.S.C. 101(22) (B).

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The shareholder defendants maintain, and submit SEC
documents to prove,2° that at least 82 of them are registered
under the 1940 Act and therefore independently qualify as
“financial institutions” under § 546(e).%! In addition, one
shareholder defendant - Natixis S.A. — is independently a
financial institution because it is simply a “commercial bank,”
pursuant to 11 U.S.C. § 101(22). See Joinder and Supplement of

Defendant Natixis S.A. to Public Shareholder Defendants’ Motion

 

to Dismiss Under the Safe Harbor of 11 U.S.C. § 546(e) (“Natixis
Joinder”), Dkt. No. 243.22 Because the payments to these
20 The Court can take judicial notice of the SEC filings

establishing such status. See Paulsen Vv. Stifel, Nicolaus & Co.,
2019 WL 2415213, at *6 (S.D.N.Y. Jun. 4, 2019).

 

21 While Plaintiffs do not dispute that public shareholders

registered under the 1940 Act are qualifying participants, they

do dispute whether one particular defendant — Gabelli Global

Series Fund Inc. (“Gabelli”) (originally sued as “Defendant NY-

8”) — has proffered any judicially noticeable evidence of its :
status as an investment company registered under the 1940 Act. '
See Joinder of Defendant NY-8 to Public Shareholder Defendants’ '
Motion to Dismiss, Dkt. No. 149; Pls’ Shareholder Mem. at 24

n.18. But Gabelli submitted the requisite documents along with

its supplemental reply. See Supplemental Reply of Gabelli Global

Series Fund Inc. In Further Support of Public Shareholder

Defendants’ Motion to Dismiss, Dkt. No. 282. Therefore, the

Court holds that Gabelli independently qualifies as a financial
institution.

 

22 As above, plaintiffs do not question whether commercial
banks qualify as financial institutions under the statute but
dispute whether Natixis has submitted judicially noticeable
documentation of its status as such. Pls’ Shareholder Mem. at 24
n.i8. To establish its status as a commercial bank, Natixis
submitted public documents, including: (1) an excerpt from the
French Financial Agents Register; and (2) a copy of the

 

 

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shareholders, which allegedly totaled over $338 million, were

part of a qualifying transaction (for the reasons discussed

above), they independently qualify for the § 546(e) safe harbor.
ii. Whether § 546(e) Preempts the Indenture Trustee’s

State Law Fraudulent Conveyance Claims Against
the Shareholder Defendants

 

 

 

In addition to the Litigation Trustee’s fraudulent
conveyance claims brought under § 544 of the Bankruptcy Code,
the Indenture Trustee asserts the same claims against the same
defendants but without invoking § 544. In Tribune, however, the
Second Circuit held that § 546(e) impliedly preempts state law
fraudulent conveyance claims by individual creditors that would
be barred by the safe harbor if brought by a bankruptcy trustee.
O46 F.3d at 90-97. Because the Court holds that the § 546 (e)

safe harbor applies, the Court also holds that the Indenture

 

Natixis’s amended articles of incorporation, with a certified
English translation of the relevant portions. Natixis Joinder at
2; see also Declaration of Joseph Cioffi in Support of Joinder
and ~ Supplement of Defendant Natixis S.A. To Public Shareholder
Defendants’ Motion to Dismiss Under the Safe Harbor of 11 U.S.C.
§ 546(e), Dkt. No. 244. Plaintiffs contend that the Court should
not take judicial notice of these documents because they are
“foreign documents, whose accuracy is not apparent on their
face.” Pls’ Shareholder Mem. at 24 n.18. But plaintiffs cite no
authority for the proposition that courts cannot take judicial
notice of publicly filed foreign documents with certified
English translations. Indeed, courts in this district have taken
judicial notice of such documents. E.g., In re Enron Corp., 323
B.R. 857, 869 (Bankr. S.D.N.Y. 2005). Therefore, the Court holds
that Natixis independently qualifies as a financial institution.

 

 

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Trustee’s claims against the shareholder defendants are
preempted by that provision.

C. Director and Officer Payments

 

To the extent the D&O defendants received common shares as
public shareholders, the foregoing analysis applies equally to
them. In addition, the D&O defendants also move to dismiss
plaintiffs’ fraudulent conveyance claims and the Litigation
Trustee’s unjust enrichment claims as to payments made in
connection with restricted shares, share equivalent units, and
accumulated dividend payments.

i. Whether § 546(e) Safe Harbors the Payments From

the Litigation Trustee’s Fraudulent Conveyance
Claims

 

 

As discussed above, the § 546(e) safe harbor applies where
two requirements are met: (1) there is a qualifying transaction;
and (2) there is a qualifying participant.

1. Qualifying Transaction

 

The D&O defendants argue that the payments for restricted
shares, share equivalent units, and accumulated dividends all
qualify as both (1) “settlement payments” and (2) transfers “in
connection with a securities contract.” Memorandum of Law in
Support of Former Director and Officer Defendants’ Motion to
Dismiss Under the Section 546(e) Securities Safe Harbor (“D&O
Defs’ Mem.”), Dkt. No. 94, at 8; Reply Memorandum of Law of

Former Director and Officer Defendants in Support of Their

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Motion to Dismiss the Complaint (“D&O Reply”), Dkt. No. 281, at
6. Plaintiffs concede that, if the Court finds that the payments
for the common shares count as qualifying transactions, then so
must the payments for restricted shares and share equivalent
units. Pls’ D&O Mem. at 10. But plaintiffs contend that the
accumulated dividend payments still should not count as
qualifying transactions because they did not involve the
purchase, sale, loan, or even cancellation of any security. Id.
The only question for the Court to resolve here, thus, Ls
whether the accumulated dividend payments count as qualifying
transactions.

As discussed above, the Second Circuit construes broadly
both “settlement payments” and “transfers in connection with a
securities contract.” The D&O defendants make two arguments for
why the accumulated dividend payments should count as qualifying
transactions.

First, the D&O defendants contend that the Complaint itself
concedes that accumulated dividends were transfers “made from
the cancellation of Jones Group shares in connection with the
LBO.” D&O Defs’ Mem. at 7 (quoting Compl. 7 40). But the D&O
defendants are taking the Complaint out of context. In full,
that sentence reads: “First, all the Directors and Officers knew
that they would receive, individually or through family members,

affiliated entities, or trusts, material amounts from the

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cancellation of Jones Group shares in connection with the LBO.”
Compl. I 40. That sentence could just as well refer to the money
the directors and officers would receive in connection with the
restricted share and share equivalent units. The Court therefore
rejects this first argument.

Second, the D&O defendants point out that other courts have
held that dividend payments made as part of an integrated
transaction where the shareholder gives up her equity count as
qualifying transactions. On point here is In re Boston
Generating, -- B.R. --, 2020 WL 3286207, at *38 (S.D.N.Y. June
18, 2020). In that case, the court held that dividend payments
may count as “settlement payments” when they are made in
exchange for the holder’s equity interest. Specifically, the
court homed in on the fact that the dividend payments were made
“as part of an integrated transaction... that comprised the
use of more than $1 billion to redeem equity interests in [the
target company], redeem warrants, and pay a dividend to
egquity.”23 Id. By contrast, where a dividend is paid in the

ordinary course to shareholders who retain their equity

 

23 For similar reasons, the court concluded that the dividend
payments also counted as “transfers made in connection with a
securities contract.” In re Boston Generating, 2020 WL 3286207,
at *38.

 

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following the dividend, such payments are not “settlement
payments.” Id.

While In re Boston Generating is not precedent binding on

 

this Court, the Court finds its reasoning persuasive, especially
in light of the wide berth that the Second Circuit has afforded
the “qualifying transaction” prong of the analysis. Here, as in

In re Boston Generating, the accumulated dividend payments were

 

tied to the restricted shares and paid as part of the settlement
of the Merger Agreement. See Merger Agreement § 4.3 (holders of
restricted shares shall receive “an amount in cash, for each
Restricted Share, equal to the Per Share Merger Consideration
plus any unpaid dividends that have accumulated on such
Restricted Share... .”). All of the cases on which plaintiffs
rely are cases in which dividend payments were made for
securities that the transferees continued to hold, exactly the
sort of situation that is distinguished in In re Boston
Generating. See Pls’ D&O Mem. at 11. Accordingly, the Court
holds that the accumulated dividend payments were both
settlement payments and transfers made in connection with a
securities contract.

2. Qualifying Participant

 

To satisfy the “qualifying participant” prong of the
analysis, the D&O defendants argue that Nine West should be

considered a “financial institution” with respect to all

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payments made in connection with the Merger Agreement, even
those payments with respect to which Wells Fargo played no role.

As discussed above, the Court holds that Nine West
qualifies as a financial institution under § 101(22) (A) because,
during the merger, it was a customer of Wells Fargo, which acted
as its agent in that merger by serving as its paying agent to
effectuate the payments to the public shareholders. Unlike the
common share payments, however, which were effectuated through
Wells Fargo, plaintiffs allege that the payments for restricted
shares, share equivalent units, and accumulated dividends “were
processed through the payroll and by other means.” Compl. @ 135.
The question here, then, is whether Nine West’s status aS a
“financial institution” extends to these other payments, which
were made in connection with the merger, but that weren’t
themselves processed by Wells Fargo.

At bottom, this is a question of statutory interpretation.
As quoted above, § 101(22) (A) defines a financial institution
as, in relevant part:

[A]n entity that is a commercial or savings bank

and, when any such... entity is acting as agent or

custodian for a customer (whether or not a ‘customer’,

as defined in section 741) in connection with a
securities contract (as defined in section 741) such

customer.

Ultimately, the parties disagree over “when” Wells Fargo is

acting as Nine West’s agent in connection with a securities

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contract. Advocating for a “contract-by-contract” approach, the
D&O defendants argue that a customer of a bank is a “financial

institution” under § 101(22) (A) with respect to a securities

 

contract. Accordingly, once the Court finds that Nine West is a
“financial institution” as a customer of Wells Fargo in
connection with the Merger Agreement, § 546(e) protects all
“settlement payments” or transfers “in connection with” the
Merger Agreement made “by or to (or for the benefit of)” Nine
West, regardless whether Wells Fargo itself processed or
otherwise served as an agent with respect to these payments. D&O
Reply at 4.

Plaintiffs offer an alternative reading. Taking a
“transfer-by-transfer” approach, plaintiffs argue that a
customer of a bank is a “financial institution” under §

101(22) (A) with respect to particular transfers. On this

 

reading, even if Wells Fargo served as Nine West’s agent in
connection with the Merger Agreement, § 546(e) protects only
those payments with respect to which Wells Fargo played an
agency role. Pls’ D&O Mem. at 8-9. Where, as here, certain
payments made in connection with the securities contract were
not processed by the paying agent, those payments are not safe
harbored. In support of their position, plaintiffs stress that,
under the statute, a customer of a bank only counts as a

financial institution “when [a bank] is acting as agent.” Id. at

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8. Thus, “customer status as a financial institution is
transitory and transactional in nature and exists only when and
to the extent the bank is playing an agency role with respect to
a specific transfer.” Id. 8-9.

For two reasons, the Court adopts the “contract-by-
contract” interpretation of § 101(22) (A). First, the reading is
more consistent with the text of the statute. The statute
provides that a customer of a bank qualifies as a financial
institution “when [the bank] is acting as agent... in
connection with a securities contract.” If plaintiffs’ reading
were right, the statute should have read: “when [the bank] is
acting as agent .. . in connection with a transfer.” Indeed, §
101(22) (A), which simply defines the term “financial
institution,” does not even mention the word “transfer.”

Second, plaintiffs’ proposed reading runs into tension with

the Supreme Court’s decision in Merit Mgmt. Grp., LP v. FTI

 

Consulting, Inc., 138 S. Ct. 883, 892 n.6 (2018). In that case,

the Supreme Court held that “the relevant transfer for purposes

of the § 546(e) safe-harbor inquiry is the overarching transfer

that the trustee seeks to avoid,” and “not any component part of
that transfer.” Id. at 893. In so holding, the Court rejected an
interpretation that some lower courts had given to § 546(e) that
“transfers in which financial institutions served as mere

conduits” are safe harbored, just because the money passed

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through a financial institution. Id. at 892. But plaintiffs’
reading effectively asks the Court to revive a version of that
conduit theory, affording safe harbor only where “the bank is
playing an agency role with respect to a specific transfer.”
Pls’ D&O Mem. at 9. In light of Merit, such a narrow focus on
the mechanics of each individual transfer is misplaced.

In sum, then, the Court holds that the relevant inquiry
under Tribune and in light of Merit is not whether the bank had
a role in a specific payment or transfer but whether that bank
was acting as an agent in connection with a securities contract.
When, as here, a bank is acting as an agent in connection with a
securities contract, the customer qualifies as a financial
institution with respect to that contract, and all payments made
in connection with that contract are therefore safe harbored
under § 546(e). For that reason, the payments made to the D&O
defendants - viz., payments in connection with restricted
shares, share equivalent units, and accumulated dividends - are
safe harbored under § 546(e), even if, as plaintiffs allege,
they were not themselves processed by Wells Fargo.

ii. Whether § 546(e) Preempts the Indenture Trustee’s

State Law Fraudulent Conveyance Claims Against
the D&O Defendants

 

 

As explained above, because the Court holds that the §
546(e) safe harbor applies to the payments made in connection

with the restricted shares, share equivalent units, and

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accumulated dividends, the Court also holds that the Indenture
Trustee’s fraudulent conveyance claims against the D&O
defendants are preempted by that provision.

iii. Whether § 546(e) preempts the Litigation

Trustee’s Unjust Enrichment Claims Against the
D&O Defendants*4

 

 

Finally, the D&O defendants argue that the Litigation
Trustee’s unjust enrichment claims against certain former
directors and officers are preempted by § 546(e)’s safe harbor.
Here, the Litigation Trustee is seeking “disgorgement and
restitution of, and a judgment against [certain defendants] in :
the amount of, the payments, benefits, incentives, and other
things of value [those defendants] received in connection with
the 2014 Transaction.” Compl. § 191.

Where an unjust enrichment claim “seeks to recover the same
payments held unavoidable under § 546(e),” it would “render the
§ 546(e) exemption meaningless, and would wholly frustrate the

purpose behind that section.” AP Servs. LLP v. Silva, 483 B.R.

 

63, 71 & n.64 (S.D.N.Y. 2012). The D&O defendants argue that

 

a4 The Litigation Trustee brings the unjust enrichment claims
only against the former directors and officers who are alleged
to have played “a key role in advocating for and/or approving
the Merger,” namely: Kimmel, Demsey, Kamens, Mitarotonda,
Nuechterlein, Robinson, and Donnalley, see 20-cv-4287, Dkt. No.
130; McClain, Crotty, and Fersko, see 20-cv-4262, Dkt. No. 110
Cade and Dansky, see 20-cv-4265, Dkt. No. 53; Georgiadis, see
20-cv-4292, Dkt. No. 1; Card and Wilkins, see 20-cv-4346, Dkt.
No. 1; and Dickson and Mettler, 20-cv-4436, Dkt. No. 134.

 

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because the Litigation Trustee is seeking to recoup money that
these defendants received in connection with transfers that have
been safe harbored, those claims are preempted by § 546(e).

In response, the Litigation Trustee argues that the D&O
defendants are misframing the doctrine: unjust enrichment claims
are only preempted where they are “substantially identical” to
the avoidance claims barred by § 546(e). Pls’ D&O Mem. at 13

(quoting In re Contemporary Indus Corp., No. A99-8135, 2007 WL

 

5256918, at *5 (Bankr. D. Neb. June 29, 2007), aff'd, No.
8:07CV288, 2008 WL 11450766 (D. Neb. Jan. 8, 2008), aff'd, 564
F.3d 981 (8th Cir. 2009), abrogated in part by Merit Mgmt. Grp.,

LP v. FTI Consulting, Inc., 138 S. Ct. 883, 892 n.6 (2018).

 

Here, the Litigation Trustee argues, the unjust enrichment
claims “are based not on the allegations that [Nine West]
engaged in intentional and constructive fraudulent conveyance,
but on the allegations that the former directors and officers of
Jones Group breached their fiduciary duties and engaged in other
personal wrongdoing.” Id. at 12-13. In other words, because the
unjust enrichment claims sound in breach of fiduciary duty, not
fraudulent conveyance, the Litigation Trustee insists they are
not preempted by § 546(e).

But, as the D&O defendants persuasively respond, it is the
remedy sought, rather than the allegations pled, that determines

whether § 546(e) preempts a state law claim. See, €.g.,

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Contemporary Industries Corp. v. Frost, 564 F.3d 981, 988 (8th

 

Cir. 2009) (Beam, J.) abrogated on other grounds by Merit, 138

 

S.Ct. 883 (2018). This rule also promotes the purpose of §
546(e), which is to “to limit[] the circumstances. . . under
which securities transactions could be unwound.” Tribune, 946
F.3d at 92.

Therefore, because the Court holds that the payments made
in connection with the restricted shares, share equivalent
units, and accumulated dividends are safe harbored under §
546(e), the Court likewise dismisses the Litigation Trustee's
unjust enrichment claims as to those payments. The Court notes,
however, that the unjust enrichment claims are not dismissed
with respect to the change in control payments, which, as
discussed above, the D&O defendants have not yet moved to
dismiss.

* kk kK kek *

For the foregoing reasons, the Court hereby dismisses all
fraudulent conveyance and unjust enrichment claims with respect
to payments made in connection with common shares, restricted

shares, share equivalent units, and accumulated dividends.*> The

 

25 In particular, the Court dismisses the following claims in
their entirety: Counts V and VI in the amended complaint in 20-
cv-4262, Dkt. No. 110; Counts IV and V in the amended complaint
in 20-cv-4265, Dkt. No. 53; Counts I and IT in the amended
complaint in 20-cv-4267, Dkt. No. 45; Counts I and II in the
complaint in 20-cv-4286, Dkt. No. 1; Counts V and VI in the

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Clerk of the Court is directed to close docket entries 88 and 93
in 20-md-2941. In addition, because all of the claims in the

complaints in the following actions have now been dismissed, the
Clerk is to enter judgment in favor of defendants in 20-cv-4286,

20-cv-4289, 20-cv-4299, 20-cv-4434, 20-cv-4440, 20-cv-4479, and

 

20-cv-4480.
SO ORDERED.
Dated: New York, NY pal. DZZ-
August af, 2028 | RAKOFF,’ U.S.D.d.

 

amended complaint in 20-cv-4287, Dkt. No. 130; Counts I and II
in the complaint in 20-cv-4289, Dkt. No. 1; Counts IV, V, and VI
in the complaint in 20-cv-4292, Dkt. No. 1; Counts I and II in
the complaint in 20-cv-4299, Dkt. No. 1; Counts IT and IT in the
complaint in 20-cv-4335, Dkt. No. 1; Counts V and VI in the
complaint in 20-cv-4346, Dkt. No. 1; Counts I and II in the
amended complaint in 20-cv-4433, Dkt. No. 100; Counts I and II
in the complaint in 20-cv-4434, Dkt. No. 4; Counts V and VI in
the amended complaint in 20-cv-4436, Dkt. No. 134; Counts I and
II in the complaint in 20-cv-4440, Dkt. No. 1; Counts I and II
in the complaint in 20-cv-4479, Dkt. No. 1; Counts I and II in
the complaint in 20-cv-4480, Dkt. No. 1; and Counts I and II in
the amended complaint in 20-cv-4569, Dkt. No. 112.

The Court also dismisses the following unjust enrichment claims
only with respect to the payments made in connection with common
shares, restricted shares, share equivalent units, and
accumulated dividends, but not with respect to the change in
control payments: Count IV in the amended complaint in 20-cv-
4262; Count III in the amended complaint in 20-cv-4265; Count IV
in the amended complaint in 20-cv-4287; Count IV in the
complaint in 20-cv-4346; and Count IV in the amended complaint
in 20-cv-4436.

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